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 14 Attorneys for Defendant
    COUNTY OF LOS ANGELES
 15
    [Additional counsel continued on following
 16 page.]
 17                        UNITED STATES DISTRICT COURT
 18         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 19
 20 LA ALLIANCE FOR HUMAN                        CASE NO. 2:20-cv-02291 DOC (KES)
    RIGHTS, et al.,
 21                                              JOINT SUBMISSION OF SECOND
 22            Plaintiffs,                       ADDENDUM TO SETTLEMENT
                                                 AGREEMENT AND STIPULATION
 23        v.                                    FOR VOLUNTARY DISMISSAL
                                                 WITH PREJUDICE PURSUANT TO
 24 CITY OF LOS ANGELES, et al.,                 F.R.C.P. 41(a)(2)
 25              Defendants.                     Assigned to the Hon. David O. Carter
 26                                              and Magistrate Judge Karen E. Scott

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      SECOND ADDENDUM TO SETTLEMENT AGREEMENT AND STIPULATION FOR
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  1 [Additional counsel continued from previous page.]
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      SECOND ADDENDUM TO SETTLEMENT AGREEMENT AND STIPULATION FOR
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 1        TO THE COURT, ALL PARTIES AND THEIR RESPECTIVE
 2 COUNSEL OF RECORD:
 3        Plaintiffs LA Alliance for Human Rights, Joseph Burk, Harry Tashdjian,
 4 Wenzial Jarrell, Karen Pinsky, Charles Malow, and George Frem (collectively,
 5 “Plaintiffs”) and Defendant County of Los Angeles (“County” and together with
 6 Plaintiffs, the “Parties”) have reached a second amended settlement in the above-
 7 captioned case and respectfully request an order pursuant to Federal Rule of Civil
 8 Procedure 41(a)(2) dismissing Plaintiffs’ claims against the County with prejudice.
 9        Attached hereto as Exhibit A is the Parties’ previously-filed Stipulation for
10 Voluntary Dismissal pursuant to Federal Rule of Civil Procedure 41(a)(2), which the
11 Parties submitted on October 17, 2022, along with an executed copy of their
12 Settlement Agreement [Dkt. 485]. The Parties requested dismissal of this action due to
13 settlement because they believed their agreement was critical to effectuating Plaintiffs’
14 settlement with the City of Los Angeles and would bring valuable additional resources
15 to people experiencing homelessness (“PEH”).
16        At its core, the Settlement Agreement between the County and Plaintiffs was
17 intended to build on the success of the City and County’s collaboration under the
18 “freeway deal”—as memorialized in the June 2020 Memorandum of Understanding
19 [Dkt. 136, 185]. 1 Under the terms of the Settlement Agreement, the County committed
20 to funding a suite of wraparound services at the thousands of interim and permanent
21 supportive housing units financed by the City pursuant to its settlement with Plaintiffs
22 through the end of the 2026–2027 fiscal year, connecting clients with available local,
23 State, and federal benefits to which they are entitled (including linkage to mental
24 health and substance use disorder (“SUD”) treatment services. [See Dkt. 421 (City
25
26        1
           The freeway deal is an agreement between the City and County, whereby the
   City agreed to provide 6,700 housing or shelter beds for vulnerable PEH, including
27 those residing under freeway overpasses, and the County agreed to assist the City with
   funding services for the new beds in the amount of $293 million and provide a package
28 of mainstream services to PEH residing in facilities established by the City pursuant to
   this MOU.

     SECOND ADDENDUM TO SETTLEMENT AGREEMENT AND STIPULATION FOR
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 1 settlement).] Experts agree that it is only the combination of housing/shelter and
 2 supportive services that will bring meaningful relief to PEH by helping them transition
 3 out of homelessness and receive access to benefits to maintain housing.
 4         The Settlement Agreement contained a number of other benefits for PEH,
 5 including but not limited to:
 6         •     The County agreed to make reasonable best efforts to ensure County
 7               outreach teams have access to County Homeless Initiative-funded high
 8               service need interim housing beds for PEH in the City.
 9         •     The County agreed to dramatically expand the number of Multi-
10               Disciplinary Teams (“MDTs”) and Homeless Outreach & Mobile
11               Engagement (“HOME”) teams that do field engagement (including on
12               Skid Row) to connect the most vulnerable PEH—unsheltered and living
13               with complex health or behavioral conditions, and/or a serious mental
14               illness—and connect them to necessary services and housing. The
15               agreement guarantees a 50 to 80 percent increase from current numbers.
16         •     The County agreed to work with the City in making available to each
17               other appropriate City- and/or County-owned land, to create new interim
18               or permanent supportive housing units.
19         As a sign of its commitment, the County moved forward with implementing the
20 key terms of the Settlement Agreement even after the Court denied dismissal which is
21 why the bed funding agreement within the Settlement Agreement is retroactive to
22 2022.
23         Attached hereto as Exhibit B is the Parties’ Proposed Second Addendum to
24 their Settlement Agreement. 2 This Second Addendum further supplements the
25
26         The Parties’ submitted their First Addendum to the Settlement Agreement on
           2
   April 18, 2023, along with a renewed request for an order dismissing Plaintiffs’ claims
27 against the County with prejudice under Rule 41(a)(2) [Dkt. 533]. Attached hereto as
   Exhibit C is the Parties’ fully-executed First Addendum to their Settlement
28 Agreement. The Second Addendum further augments the material terms of the
   Agreement and First Addendum.
                                               2
    JOINT SUBMISSION OF SECOND ADDENDUM TO SETTLEMENT AGREEMENT
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 1 Settlement Agreement in three key ways:
 2         3,000 New Mental Health/Substance Use Disorder Beds: The Parties recognize
 3 the co-occurrence of homelessness, mental illness, and/or substance use disorder
 4 (SUD) and, by extension, the importance of connecting eligible PEH with mental
 5 health and SUD treatment and sustainable housing attached to needed treatment to help
 6 lift them out of homelessness. Under the Second Addendum, the County is funding
 7 3,000 new mental health/SUD beds for high acuity PEH and PEH with serious mental
 8 illness and/or SUD—a 900 percent increase from the original Settlement
 9 Agreement. 3 These 3,000 beds are an array of beds along the continuum of care in
10 order to best support the different levels of needs of the County’s PEH population,
11 from treatment beds to housing beds with treatment services. The beds pair mental
12 health and/or SUD services with eligible individuals and PEH in need of ongoing
13 medical care. The individuals consist of current Department of Mental Health
14 (DMH)/Department of Public Health, Substance Abuse Prevention and Control
15 (SAPC) clients who need these types of care for their recovery journey and individuals
16 whom the departments are trying to enroll in DMH/SAPC services for their
17 health. Even if a client does not meet the licensed beds criteria, the continuum still
18 provides options for mental health and/or SUD treatment and sustainable housing. By
19 offering a spectrum of treatment options and housing settings, the County is best able
20 to meet the varied needs of PEH and more precisely address their individualized needs
21 in order to maximize their likelihood of long-term recovery.
22         450 New “Board and Care” Subsidies: The County intends to make available
23 450 new enhanced-rate subsidies for enriched residential care at licensed Adult
24 Residential Facilities (“ARFs”) and Residential Care Facilities for the Elderly
25 (“RCFEs”). These facilities are a vital housing resource for the County’s indigent
26 population and are often utilized by individuals who are homeless or at risk of
27
28         3
             The 3,000 new mental health/SUD beds under the Second Addendum is the
     total number of new beds under the Settlement Agreement between the Parties.
                                               3
      JOINT SUBMISSION OF SECOND ADDENDUM TO SETTLEMENT AGREEMENT
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     1 homelessness and need care and supervision to maintain housing. The Enriched
     2 Residential Care ("ERC") program is administered by the Department of Mental
     3 Health and serves to decompress institutions such as hospitals or Institutes for Mental
     4 Disease ("IMD"), including those who are homeless or at risk of becoming homeless
     5 due to the need for a higher level of care. Over the last few years, these facilities have
     6 been facing an existential crisis due to low reimbursement rates that outpace
     7 maintenance and operating costs, which has forced the closure of many facilities and
     8 threatened the housing stability of many of the County's most vulnerable residents.
     9 The subsidies under the First Addendum are valued at approximately $40 million and
    IO will help add an additional 450 clients daily to the program, which currently serves
    11 approximately 738 individuals. In doing so, the First Addendum will help keep ARFs
    12 and RCFEs in operation and encourage additional ARFs and RCFEs to open, thus
    13 preserving this housing opportunity for clients who need the extra support provided by
    14 licensed residential care facilities and 24/7 care and supervision..
    15        Appointment ofHon. Jav C. Gandhi As Monitor of the Parties' Settlement:
    16 Th� Second Addendum augments the accountability provisions under the existing
    17 Settleme t _Agreement by adding Judge Jay C. Gandhi (Ret.) as a monitor of the
    18 County's com ·ance with the settlement. Judge Gandhi's oversight is in addition to
    19 the County's quarter        orting obligations to Plaintiffs and the Court's acceptance of
    20 continuing jurisdiction (in tlie   ercise of its discretion) through the end of fiscal year
    21 2026/27, as already provided for in th     ettlement Agreement. Judge Gandhi is a
    22 conscientious and thorough jurist who has_;-        onstrated track record of success
    23 working with public entities and government offic1       . He was also material to
    24 brokering the Settlement Agreement between the Parties nd thus has a meaningful
    25 background in the case, the terms of the agreement, and the c rqplexities of
    26 homelessness, serious mental illness, and substance use disorder.        hJie Judge Gandhi
    27 already has some background because of his involvement in the settlemen
    28 he is committed to getting up to speed and conducting meaningful assessments,

         JOINT SUBMISSION OF SECOND ADDENDUM TO SETTLEMENT AGREEMENT
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 1 including anticipated on-site visits, so that he can provide comprehensive information
 2 to the Court.
 3                                              ***
 4        This Parties’ Settlement Agreement and Addenda further the well-recognized
 5 public policy in favor of settlements, which conserve judicial and party resources. See
 6 Ahern v. Cent. Pac. Freight Lines, 846 F.2d 47, 48 (9th Cir. 1988) (“The Ninth Circuit
 7 is firmly ‘committed to the rule that the law favors and encourages compromise
 8 settlements.’” (citation omitted.)) Not only that, but it reflects the Parties’ mutual
 9 desire to bring this historic litigation to a close and help PEH. All Parties want this
10 Agreement. The Parties respectfully request that the Court approve the stipulation and
11 enter an order dismissing Plaintiffs’ claims against the County with prejudice.
12
13 DATED: September 25, 2023              UMHOFER, MITCHELL & KING, LLP
14
15
                                          By:         /s/ Elizabeth A. Mitchell
16
                                                  ELIZABETH MITCHELL
17                                                Attorneys for Plaintiffs
18
     DATED: September 25, 2023            MILLER BARONDESS, LLP
19
20
21                                        By:         /s/ Mira Hashmall
22                                                MIRA HASHMALL
                                                  Attorneys for Defendant
23
                                                  COUNTY OF LOS ANGELES
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     JOINT SUBMISSION OF SECOND ADDENDUM TO SETTLEMENT AGREEMENT
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  1                             ATTORNEY ATTESTATION
  2        The other signatories listed, and on whose behalf the filing is submitted,
  3 concur in the filing’s content and have authorized the filing.
  4 DATED: September 25, 2023             UMHOFER, MITCHELL & KING, LLP
  5
  6
                                          By:         /s/ Elizabeth A. Mitchell
  7
                                                  ELIZABETH MITCHELL
  8                                               Attorneys for Plaintiffs
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      SECOND ADDENDUM TO SETTLEMENT AGREEMENT AND STIPULATION FOR
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Case 2:20-cv-02291-DOC-KES    Document 647 Filed 09/29/23      Page 17 of 46 Page
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Case 2:20-cv-02291-DOC-KES    Document 647 Filed 09/29/23      Page 19 of 46 Page
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                             !ADDENDUM TO SETTLEMENT AGREEMENT


       This Addendum to Settlement Agreement (the "Addendum") is entered into by and between the
       County of Los Angeles ("County"); LA Alliance for Human Rights, Joseph Burk,
       Harry Tashdjian, Wenzial Jarrell, Karyn Pinsky, Charles Malow, and George Frem (collectively,
       "Plaintiffs"). Each of the County and Plaintiffs is referred to individually as a "Party" and
       collectively as the "Parties."

                                                  RECITALS

       WHEREAS, on October 11 , 2022, the Parties entered into a Settlement Agreement
       ("Agreement"), wherein they memorialized their agreement to settle and finally resolve the
       matter entitled LA Alliance for Human Rights et al. v. City ofLos Angeles et al., U.S. District
       Court for the Central District of California, Case No. 2:20-cv-02291 (the "Action");

      WHEREAS, on October 17, 2022, the Parties filed a copy of the Agreement with the Court and
      jointly requested the Court to dismiss the Action against the County; The Court scheduled a
      hearing regarding the Agreement;

       WHEREAS, on January 17, 2023, the Parties attended the hearing, and in light of the new
       leadership at the County and City of Los Angeles level, the Parties indicated their interest in
       reviewing and potentially increasing resources for the People Experiencing Homel essness
       ("PEH"); and

       NOW, THEREFORE, the Parties hereby agree to modify the terms of the Agreement as follow:

                                          TERMS OF ADDENDUM

          A. Paragraph D, County's Obligations, Subparagraph 3, Mental Health/Substance Use
             Disorder Beds, shall be deleted in its entirety and replaced with the following:

              3a.     Mental Health/Substance Use Disorder Beds: The County shall
                      develop/contract 1,000 additional mental health and substance use disorder beds
                      according to the greatest need as solely determined by the County. The 1,000
                      beds shall be open and operational on the fo llowing timeline: 300 beds by June
                      30, 2023, 310 beds by December 31, 2023, 90 beds by December 31, 2024, 130
                      beds by December 31 , 2025, and 170 beds by December 31, 2026. The beds
                      herein shall exclude those previously funded in any agreement effective before
                      June 14, 2022 between the County and a provider agency for contracted facil ities,
                      and shall exclude beds that the County directly operated and became available
                      before June 14, 2022. Funding shall not include any advance payments for
                      startups.




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                                                                                        Exhibit B, Page 25
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          B. Paragraph D, County's Obligations, Subparagraph 3b, Enriched Residential Care for
             Adult Residential Facilities ("ARF") and Residential Care Facilities for the Elderly
             ("RCFEs") Beds, shall be added to the Agreement as follows:

              3b.     Enriched Residential Care for Adult Residential Facilities ("ARF'') and
                      Residential Care Facilities for the Elderly ("RCFEs") Beds: The County shall make
                      available 450 new subsidies which includes an enhanced services rate at existing ARF
                      and RCFEs that accept individuals eligible for Department of Mental Health ("DMH")
                      services. These beds are frequently, but not exclusively, utilized by individuals with
                      Serious Mental Illness who would otherwise be homeless. The parties recognize that
                      whether there are sufficient third-party providers to accept these funds is not within the
                      County's control and the utilization of these funds is contingent on receipt of 450 eligible
                      referrals over the course of this Agreement. The County shall make available the
                      subsidies within the following deadlines: 40 by December 31, 2023, 160 by December
                      31, 2024, 120 by December 31, 2025, and 130 by December 31, 2026.

          C. Paragraph D, County Obligations, Subparagraph 9, Reporting, Section i, Support for Plaintiffs'
             Settlement with the City, Subsection (3) shall be added to the Agreement as follows:

              (3)     The Parties acknowledge that Paragraph D(9)(i)( l) and D(9)(i)(2), above, shall be
                      contingent upon receipt of information from the City.

          D . Paragraph D, County Obligations, Subparagraph 9, Reporting, Section (iii), Mental
              Health/Substance Use Disorder Beds, shall be deleted in its entirety and replaced with the
              following:

              iii.    Mental Health/Substance Use Disorder Beds:

                      (1)    The number of beds that have been developed/contracted since June 14,
                      2022 (or status thereon) under this agreement, date said beds became open and
                      operational, and confirmation said beds continue to be open and operational.

          E. Paragraph D, County Obligations, Subparagraph 9, Reporting, Section viii, Enriched
             Residential Care for ARF and RCFEs Beds, shall be added to the Agreement as follows:

              viii.   Enriched Residential Care for ARF and RCFEs Beds:

                      ( 1)   The number of referrals, name of referral sources, number of referrals
                      accepted, date individual moved in, and name and type of facility accepting
                      enhanced rate.




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                                                                                             Exhibit B, Page 26
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            F. Paragraph Q, Notices, shall be deleted in its entirety and replaced as follows:

               Q.      Notices. All notices to be sent under this Agreement shall be delivered as follows
                       and shall reference the Action in the subject line of the notice:

                       1.     For Plaintiffs:
                              Umhofer, Mitchell & King LLP
                              11766 Wilshire Blvd, Suite 900
                              Los Angeles, CA 90025
                              Attn: Matthew Donald Umhofer, Elizabeth A. Mitchell
                              matthew@umklaw.com; elizabeth@umklaw.com

                       2.     For the County:
                              Office of County Counsel
                              500 West Temple Street, Suite 648
                              Los Angeles, California 90012
                              Attention: Ana Lai; Jennifer Lehman
                              alai@counsel. lacounty .gov; j lehman@counsel. lacounty .gov

                       Any Party may change its notice recipient or address for providing notice to it by
                       notifying the other Party(ies) in writing setting forth such new notice recipient or
                       address.

            G. All references to "Spertus, Landes, & Umhofer, LLP", including on Page 1, Paragraph 1,
               introductory paragraph, Page 3, Paragraph C, Settlement Payment and Attorney's Fees,
               Subparagraph 1, and Page 11, signature line, of the Agreement, shall be replaced by
               "Umhofer, Mitchell & King LLP".


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                                                                                         Exhibit B, Page 27
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       This Addendum is hereby incorporated into and shall become a part of the Agreement. In all
       other respects, the Agreement shall remain unchanged and in full force and effect.


       AGREED TO AND ACCEPTED.



        COUNTY OF LOS ANGELES


        By:cJ:6:r                                      Dated: - - - - - - - - - - - - -



        LA ALLIANCE FOR HUMAN RIGHTS

                                                       Dated: - - - - - - - - - - - - -
        By:
        Title:

        JOSEPH BURK

                                                       Dated: - - - - - - - - - - - - -


        GEORGEFREM

                                                       Dated: - -- - - -- - - - - - -


        WENZIAL JARRELL

                                                       Dated:
                                                                - - - - - -- - - - - --

        CHARLES MALOW

                                                       Dated: _ _ _ _ __ _ __ _ _ __


        KARYN PINSKY

                                                       Dated: - - - - - -- - -- - - -




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                                                                                   Exhibit B, Page 28
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        HARRY TASHDJIAN

                                         Dated:
                                                  - - - - - - - -- - - -




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                                                              Exhibit B, Page 29
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     This Addendum i hereby incorporated into and shall become a pan or the Agreement. In aJ I
     other respects. the Agrccmcm shall remain unchanged and in full force and effect.


      AGREED TO A ·o ACCEPT ED.



      COUNTY OF LOS ANGELES

                                                    Dmc<l: --i-----------c----
      By:
      Title:



                                                    Dated: -....-------------
      Bv:
      Titk:

      JOSEPH BURK




      GEORGE FRE:\-1


                                                    Dmed: - - - - - - · - - - - - - - -

      \.\'ENZIAL J.t.\RRELL

                                                    Dated:
                                                             -~-----------
      CHARLES ,\,JALO\Y

                                                    Dated: - - - - - - - - - - - - -


      KARYN PJ\SKY

                                                    Dated:
                                                             -------------




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                                                                               Exhibit B, Page 30
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                                #:19513




       This Addendum is hereby incorporated into and shall become a part of the Agreement. In all
       other respects, the Agreement shall remain unchanged and in full force and effect.


       AGREED TO AND ACCEPTED.



        COUNTY OF LOS ANGELES

                                                       Dated:
        By:
        Title:

        LA ALLIANCE FOR HUMAN RIGHTS

                                                       Dated:
        By:
        Title:

        JOSEPH BURK


                 ~
                                                       Dated:            04/14/2023


        GEORGEFREM

                                                       Dated:


        WENZIAL JARRELL

                                                       Dated:


        CHARLES MALOW

                                                       Dated:


        KARYN PINSKY

                                                       Dated:




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                                                                                      Exhibit B, Page 31
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                                #:19514




        This Addendum is hereby incorporated into and shall become a part of the Agreement. In all
        other respects, the Agreement shall remain unchanged and in full force and effect.


        AGREED TO AND ACCEPTED.



         COUNTY OF LOS ANGELES

                                                        Dated:
                                                                 - - -- - -- - - -- - -
         By:
         Title:

         LA ALLIANCE FOR HUMAN RIGHTS

                                                        Dated:
         By:
                                                                 - -- - -- -- - -- --
         Title:

         JOSEPH BURK
                                                        Dated: _ _ __ _ _ _ __ _ _ __




         WENZIAL JARRELL

                                                        Dated:
                                                                 -------------

         CHARLES MALOW

                                                        Dated:
                                                                 - - - - - - - - - -- - -

         KARYN PINSKY
                                                        Dnt-od : _   _ _ _ _ _ _ _ _ __ __




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                                                                                    Exhibit B, Page 32
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                                              ID #:19555
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                                #:19515




          This Addendum is hereby incorporated into and shall become a part of the Agreement. In all
          other respects, the Agreement shall remain unchanged and in full force and effect.


          AGREED TO AND ACCEPTED.



           COUNTY OF LOS ANGELES

                                                          Dated:
           By:
           Title:

           LA ALLIANCE FOR HUMAN RIGHTS

                                                          Dated:
           By:
           Title:

           JOSEPH BURK

                                                          Dated:


           GEORGEFREM

                                                          Dated:


           WENZIAL JARRELL

             ~'al./4ffd),                                 Dated:     Mnn        A pr 17
           CHARLES MALOW

                                                          Dated:


           KARYN PINSKY

                                                          Dated:




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                                                                                         Exhibit B, Page 33
Case 2:20-cv-02291-DOC-KES              Document 647 Filed 09/29/23                     Page 32 of 46 Page
                                            ID #:19556
Case 2:20-cv-02291-DOC-KES Document 646 Filed 09/28/23 Page 32 of 40 Page ID
                                #:19516




     This Addendum is hereby incorporated into and sJ,af'I become a pa11Lof the l\grccmcnt. In ull
     other respects, the Agreement shall remain unchru1ged and in f1:tll fo11oc and1:f'fccf.


     AGRiEED TO AND ACCEPTEO.



      COUNTY OF LOS ANGELES


      By:
      Tjtle:

      LA ALLIANCE FOR HlJ.lY.IAN RIGH'ES

                                                      ;Dated: _   __:,_._.2:_   __._ _ __ _ _ _ _ __

      By:                                                                                              f1,   •



      Title:

      JOSEPHBWK




    . GEORGEFREM




      WENZIA.L JARRELL




     KARYN PINSKY




                                                                                       Exhibit B, Page 34
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                                            ID #:19557
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                                #:19517




       This Addendum is hereby incorporated into and shall become a part of the Agreement. In all
       other respects, the Agreement shall remain unchanged and in full force and effect.


       AGREED TO AND ACCEPTED.



        COUNTY OF LOS ANGELES

                                                       Dated: _ _ __ _ _ __ _ _ _ __
        By:
        Title:

        LA ALLIANCE FOR HUMAN RIGHTS

                                                       Dated: - - -- - - - - -- - - -
        By:
        Title:

        JOSEPH BURK

                                                       Dated: _ __ _ _ _ _ __ _ __ _


        GEORGEFREM

                                                       Dated:


        WENZIAL JARRELL

                                                       Dated:


        CHARLES MALOW

                                                       Dated:


        KARYN PINSKY

          ,~~                                          Dated:    04/ 17/23




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                                                                                   Exhibit B, Page 35
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                                #:19518




         HARRY TASHDJIAN

                                                      (2_ 4- /vf- ci>J
              ~            -             Dated: _ _




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                                                                         Exhibit B, Page 36
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                     payment of any sum between and among any of Plaintiffs, Plaintiffs' counsel, and
                     any of their affiliates, representatives, members, agents, and assigns. Except for
                     the Payment, each Party shall be responsible for and bear its own attorneys' fees
                     and costs incurred in the Action including in connection with the negotiation and
                     execution of this Agreement. Payment to be made within forty-five (45) days of
                     an order by the Court dismissing the Action with prejudice.

          C. Paragraph D, County's Obligations, Subparagraph 3, Mental Health/Substance Use
             Disorder Beds, shall be deleted in its entirety and replaced with the following:

             3.      Mental Health/Substance Use Disorder Beds: The County shall
                     develop/contract 3,000 mental health and substance use disorder beds according
                     to the greatest need as solely determined by the County. The 3,000 beds shall be
                     open and operational on the following timeline: 600 by December 31, 2023; 1,200
                     by December 31, 2024; 1,800 by December 31, 2025; and 3,000 by December 31,
                     2026. The beds herein shall exclude those previously funded in any agreement
                     effective before June 14, 2022, between the County and a provider agency for
                     contracted facilities, and shall exclude beds that the County directly operated and
                     became available before June 14, 2022. Funding shall not include any advance
                     payments for startups.

          D. Paragraph F, Dismissal With Prejudice, shall be deleted in its entirety and replaced with
             the following:

             F.      Dismissal With Prejudice: On September 25, 2023, Plaintiffs shall file a Joint
                     Stipulation For Voluntary Dismissal With Prejudice Pursuant to F .R.C.P.
                     41(a)(2).

          E. Paragraph Q, Notices, shall be deleted in its entirety and replaced with the following:

              Q.    Notices. All notices to be sent under this Agreement shall be delivered as follows
              and shall reference the Action in the subject line of the notice:

              1.     For Plaintiffs:
                     Umhofer, Mitchell & King LLP
                     767 S. Alameda St., Suite 270
                     Los Angeles, CA 90021
                     Attention: Matthew Donald Umhofer, Elizabeth A. Mitchell
                     matthew@umklaw.com; elizabeth@umklaw.com

              2.     For the County:
                     Office of County Counsel
                     500 West Temple Street, Suite 648
                     Los Angeles, California 90012
                     Attention: Ana Lai; Katherine Bowser
                     alai@counsel.lacounty.gov; kbowser@counsel.lacounty.gov

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                                      #:19523




         [Signatures cont’d from previous page]




         JOSEPH BURK

                                                     Dated:                     _____________

         GEORGE FREM

                                                    Dated:


         WENZIAL JARRELL

                                                                                Dated:              oo


         CHARLES MALOW

                                                                                  Dated:                 ___________


         KARYN PINSKY

                                                    Dated:


         HARRY TASHDJIAN

                                                    Dated:      _____________________________




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                                 ID #:19567
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